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EXHIBIT A
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                                                                      Scott Fuss
                                                                      Petroglyph Studio
                                                                      477 Womack Road
                                                                      Covington, Georgia 30109

                                                                      77OV86-.3541




Date of Invoke:
T-27-96


Invoke to:
Matt Patterson
Sweetwater Brewing Company
900 Wendell Court
Atlanta, GA 30 4 56




Description.
Concept . design and illustrate:
Sweetwater Brewing Company Logo (color and black t? white versions)                       $500.00
Sweetwater Bottle Logo
Sculpt dimensional "Leaping Trout" tap handle




                                                                                   Sub. $500.00




asnoBi
